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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                           )
                                                  )
 FREE SPEECH SYSTEMS, LLC                         )    Case No. 22-60043
                                                  )
               Debtor.                            )    Chapter 11 (Subchapter V)
                                                  )

                     CHAPTER 11, SUBCHAPTER V STATUS REPORT

          Free Speech Systems, LLC., the debtor and debtor-in-possession in the above-captioned

chapter 11 case (the “Debtor”), hereby files this status report pursuant to the Court’s order entered

on August 12, 2022 [ECF No. 65] and respectfully states as follows:

          1.     The Debtor is in the process of preparing its projections of disposable income

necessary to propose a plan of reorganization in this case and prepare valuations of its assets. The

Debtor believes that the disposable income will be the principal source of funds available for

distribution in this chapter 11 case.

          2.     The Debtor intends to work with its creditors and attempt to obtain a consensual

plan. To date, the Debtor has scheduled meetings with PQPR Holdings Limited, LLC (“PQPR”)

regarding its treatment under a plan. The first such meeting was scheduled for September 13, 2022,

but was postponed due to the hearing regarding a discovery dispute involving PQPR that was set

for that day. Additionally, the Debtor has reached out to the bankruptcy counsel for the various

tort claimants in the Texas and Connecticut litigation (collectively, the “Plaintiffs”) to

communicate its willingness to have discussions regarding a plan of reorganization. The Debtor

believes that reconciling PQPR and the Plaintiffs would present the most difficult challenge to a

consensual plan and therefore has therefore focused its efforts on those creditors to date.
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       3.      The Debtor has also requested that the subchapter v trustee become more involved

in the case in an effort to move the case forward. On September 12, 2022, the subchapter v trustee

and her potential proposed counsel visited the Debtor’s facility to gain insight to the Debtor’s

operations. And although the Debtor believes that it is capable of investigating PQPR’s asserted

secured claim and potential avoidance actions, it believes that expanding the subchapter v trustee’s

duties may ultimately prove beneficial to allow the parties to focus on working to a plan of

reorganization.

       4.      Fruitful negotiations with the Plaintiffs are hindered pending resolution of several

pending motions. The U.S. Trustee’s objections to the employment of the CRO and Shannon &

Lee LLP limit the Debtor’s ability to prepare a plan of reorganization and the Plaintiffs appear

reluctant to enter discussions while their motion for the appointment of a tort claimants committee

and removal of the Debtor as debtor in possession is pending. Nonetheless, the Debtor continues

to work toward a plan in this case.

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Dated: September 13, 2022          LAW OFFICES OF RAY BATTAGLIA, PLLC

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                                   -and-

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                            CERTIFICATE OF SERVICE

        I hereby certify that on September 13, 2022, a true and correct of the foregoing
document was served electronically via the Court’s CM/ECF system on all parties registered
to receive such service.

                                                  /s/R. J. Shannon




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